Case 6:15-bk-60029   Doc 35   Filed 10/02/15 Entered 10/02/15 15:28:36   Desc Main
                              Document     Page 1 of 6
Case 6:15-bk-60029   Doc 35   Filed 10/02/15 Entered 10/02/15 15:28:36   Desc Main
                              Document     Page 2 of 6
Case 6:15-bk-60029   Doc 35   Filed 10/02/15 Entered 10/02/15 15:28:36   Desc Main
                              Document     Page 3 of 6
Case 6:15-bk-60029   Doc 35   Filed 10/02/15 Entered 10/02/15 15:28:36   Desc Main
                              Document     Page 4 of 6
Case 6:15-bk-60029   Doc 35   Filed 10/02/15 Entered 10/02/15 15:28:36   Desc Main
                              Document     Page 5 of 6
Case 6:15-bk-60029   Doc 35   Filed 10/02/15 Entered 10/02/15 15:28:36   Desc Main
                              Document     Page 6 of 6
